1    TERRY A. DAKE, LTD.
     P.O. Box 26945
2    Phoenix, Arizona 85068-6945
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3    tdake@cox.net

4    Terry A. Dake - 009656

5    Attorney for Trustee

6                            IN THE UNITED STATES BANKRUPTCY COURT

7                                  FOR THE DISTRICT OF ARIZONA

8    In re:                                     )      In Chapter 7 Proceedings
                                                )
9    HOME OPPORTUNITY, LLC;                     )      Case No. 2:21-BK-04924-EPB
                                                )
10                               Debtor.        )
                                                )
11
                                          REPORT OF SALE
12
                   The trustee reports that he has received payment of the
13
     $4,000.00 bid made by Harbor Investment Group, LLC pursuant to the
14
     Notice Of Auction Sale at Admin Dkt. No. 108.                       As Admin. Dkt. No. 108
15
     reflects, the trustee sold: All right title and interest of the debtor
16
     and the bankruptcy estate in and to the following property:
17
                   ALL that certain pieces or parcels of ground situate in the City of Monessen, County of
18
     Westmoreland, and Commonwealth of Pennsylvania, and being more particularly bounded and
19
     described as follows:
20
     BEING Lot No. 1531 South of Schoonmaker Avenue, between Ontario Street and Parente Boulevard,
21
     fronting on Lenawee Avenue 144.49 feet and running back on its Eastern Boundary 44.7 feet, and
22
     running back on its Western Boundary 40 feet, and being 124.65 feet wide at its rear.
23
     BEING identified as Tax Map Number 20-02-08-0-092, and being known as 133 Lenawee Avenue.
24
                   This report is filed in compliance with Bankruptcy Rule 6004.
25

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1    DATED February 3, 2022.
2                        TERRY A. DAKE, LTD.
3                        By /s/ TD009656
                             Terry A. Dake – 009656
4                            P.O. Box 26945
                             Phoenix, Arizona 85068-6945
5                            Attorney for Trustee
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